
OPINION
FELDMAN, Justice.
¶ 1 We granted review to decide whether the state constitution permits the state and the Arizona Health Care Cost Containment System (AHCCCS) to refuse to fund medically necessary abortion procedures for pregnant women suffering from serious illness while, at the same time, funding such procedures for victims of rape or incest or when the abortion is necessary to save the woman’s life.
¶ 2 The court of appeals held that AHCCCS’ funding scheme was constitutionally permitted. Simat Corp. v. Arizona Health Care Cost Containment Sys., 200 Ariz. 506, 512 ¶ 20, 29 P.3d 281, 287 ¶ 20 (App.2001). Having ordered supplemental briefing and heard oral argument, we now conclude, as have the great majority of other states that have considered this question, that insofar as the state scheme permits funding of abortions for one class of pregnant women, the state constitution will not permit it to deny funding for others for whom abortions are medically necessary to save the mother’s health.
¶ 3 We are aware, of course, of the controversy surrounding any issue pertaining to abortion. We therefore think it appropriate to state what this case is not about. It is not about the right to an abortion. The right to choose was established by the United States Supreme Court in Roe v. Wade, 410 U.S. 113, 152-53, 93 S.Ct. 705, 726-27, 35 L.Ed.2d 147 (1973). It is not about whether the Arizona Constitution provides a more expansive abortion choice than the federal constitution — ■ that issue is not presented. It is not about whether the state must fund abortions for non-therapeutic or contraceptive purposes or, for that matter, any purpose — those issues are not presented. The narrow and only question decided is this: Once the state has chosen to fund abortions for one group of indigent, pregnant women for whom abortions are medically necessary to save their lives, may the state deny the same option to another group of women for whom the procedure is also medically necessary to save their health?
FACTS
¶ 4 Appellees (the doctors) are providers of medical services, including abortions, in the field of obstetrics and gynecology. AHCCCS is a state agency that provides Medicaid services to qualified Arizona women with incomes at or below 140 percent of the federally set poverty level. Each of the doctors is a provider to AHCCCS patients, among others. All of the doctors have and have had patients suffering from medical conditions that are serious but not immediately life-threatening. To treat many of these conditions, an abortion must be performed before the necessary therapy can be administered. An example is cancer, for which chemo- or radiation therapy ordinarily cannot be provided if the patient is pregnant, making an abortion necessary before proceeding with the recognized medical treatment. Other conditions for which the administration of drug or other therapy regimens must at times be suspended during pregnancy include heart disease, diabetes, kidney disease, liver disease, chron*456ic renal failure, asthma, sickle cell anemia, Marfan’s syndrome, arthritis, inflammatory bowel disease, gall bladder disease, severe mental illness, hypertension, uterine fibroid tumors, epilepsy, toxemia, and lupus erythe-matosus. In many of the women suffering from these diseases, suspension of recognized therapy during pregnancy will have serious and permanent adverse effects on them health and lessen their life span.1
¶ 5 AHCCCS will not fund abortion services unless the procedure “is necessary to save the life of the woman having the abortion.” A.R.S. § 35-196.02. AHCCCS will, however, fund abortion services for victims of rape or incest. See AHCCCS Medical Policy Manual, Ch. 400 — Medical Policy for Maternal and Child Health, Policy 410 — Maternity Care Services. The regulations are broader than the statute but required by federal law as a condition of obtaining federal funds. AHCCCS does not challenge the validity of the regulations.
PROCEDURAL BACKGROUND
¶ 6 The doctors’ complaint asked for declaratory and injunctive relief on the grounds that the funding policy that prevents medically necessary abortions for AHCCCS patients violates various provisions of the Arizona Constitution. Among these are the privacy clause (art. II, § 8), the due process clause (art. II, § 4), and the equal privileges and immunities clause (art. II, § 13). The doctors and the state filed cross-motions for summary judgment. The trial judge denied, the state’s motion and granted the doctors’ motion. He enjoined AHCCCS from enforcing A.R.S. § 35-196.02 in cases in which the abortion procedure was medically necessary to protect the health of the mother and ordered the state to fund medically necessary abortions to the same extent it funds other services for pregnant women. Minute Entry, May 19, 2000, at 5.
¶ 7 In reaching this result, the judge first noted that the doctors did not claim their patients had a right to state-funded abortions, but stated that once the state did fund necessary medical care for indigents, the Arizona Constitution required it to do so in a neutral manner. Id. at 2. The judge then noted that in the case of abortions, AHCCCS uses “completely different standard[s] of medical necessity.” Id. at 3. Instead of the general definition of certification that services are medically necessary, for abortion procedures there must be certification that the pregnancy is the product of rape or incest or is necessary to save the life of the woman. Id.; AHCCCS Medical Policy Manual, supra. The judge therefore found the AHCCCS program is not neutral with respect to reproductive choice and its policy violates fundamental rights under Arizona’s constitution. Minute Entry at 5.
118 The judge concluded that under our case law, the privacy clause, article II, § 8, gives each Arizona woman the fundamental right to decide on her “own plan of medical treatment.” Id. at 4 (citing Rasmussen v. Fleming, 154 Ariz. 207, 215, 741 P.2d 674, 682 (1987)). Thus, the judge determined, statutes or agency regulations that impair or infringe on such rights must be examined with strict scrutiny and can be upheld only when essential to serve a compelling state interest. Id. Finding that the state had not established that it had “a compelling State *457interest that must be advanced by endangering indigent women” through denial of medical treatment necessary to preserve their health, the judge held the statutory and regulatory provisions at issue unconstitutional. Id. at 4-5.
¶ 9 The court of appeals reversed, holding that the statutory scheme does not violate any Arizona constitutional provision, and remanded the case to the superior court for entry of summary judgment in favor of the state. Simat Corp., 200 Ariz. at 512 ¶ 20, 29 P.3d at 287 ¶ 20. The court relied on Harris v. McRae, a case in which the United States Supreme Court upheld the constitutionality of the so-called Hyde Amendment, a statute that prohibits the use of federal funds under the Medicaid program of Social Security to reimburse states for the cost of abortions. 448 U.S. 297, 322, 100 S.Ct. 2671, 2691, 65 L.Ed.2d 784 (1980). The Hyde Amendment contains exceptions to the prohibition that are similar to but somewhat broader than those contained in A.R.S. § 35-196.02. The exceptions are when the mother’s life “would be endangered” if the abortion were not performed and when the “procedures [are] necessary for the victims of rape or incest____” Pub.L. 96-123 § 109, 93 Stat. 923 (1979).
BACKGROUND
¶ 10 In McRae, the Supreme Court held that the states participating in the Medicaid system were not required by federal law to fund therapeutic abortions for which federal reimbursement was unavailable because of the Hyde Amendment. 448 U.S. at 309-10, 100 S.Ct. at 2684. This holding, of course, applies to Arizona. Nothing in the federal law requires Arizona to fund abortions other than in accordance with the Medicaid statutes and regulations, as modified by the Hyde Amendment.
¶ 11 The Supreme Court then held that the Hyde Amendment’s funding restrictions did not violate a patient’s right of choice as described in Roe or the religion clauses of the First Amendment. Id. at 315-19, 100 S.Ct. at 2687-89. We reach the same result under the Arizona Constitution. Whatever right of choice may be provided by our constitution is irrelevant to the issue here. Even if our state constitution gives our citizens a right of choice, it certainly does not give them the right to have the government fund those choices.
¶ 12 The more serious constitutional challenge in McRae was the question of equal protection. The McRae Court found no violation of the equal protection clause because there was no substantive constitutional right impaired by the Hyde Amendment’s funding restrictions. The right, recognized in Roe, to choose abortion was left unimpaired because Medicaid patients were free to make that choice. They were only deprived of the ability to require the government to fund them choice, and this, the Court said, did not deprive patients of a substantive, fundamental constitutional right. Id. at 325-26, 100 S.Ct. at 2692-93. Because indigency was not a suspect class, there was no discriminatory effect that would require strict scrutiny. Id. at 323-24, 100 S.Ct. at 2691-92. Thus, the Court applied the rational relationship test to the provisions of the Hyde Amendment and found that its restrictions were rationally related to the government’s legitimate interest in protecting potential life. Id. at 325, 100 S.Ct. at 2692.
DISCUSSION
A. Arizona Constitution — privacy rights and equal protection
¶ 13 We do not believe that McRae is dispositive of the issue that arises under the Arizona Constitution. Unlike the federal constitution, our constitution confers an explicit right of privacy on our citizens. See Ariz. Const. art. II, § 8 (“No person shall be disturbed in his private affairs ____”). Further, the Arizona Constitution expressly prohibited the legislature from denying to some citizens those privileges granted to others. See Ariz. Const. art. II, § 13 (“No law shall be enacted granting to any citizen [or] class of citizens ... privileges or immunities which, upon the same terms, shall not equally belong to all citizens.”). Our court of appeals addressed privacy, noting that nothing “in Article 2, § 8 suggests that the framers of the Arizona Constitution intended the right to privacy ... to create a right of Arizona *458citizens to subsidized abortions----” Simat Corp., 200 Ariz. at 510 ¶ 10, 29 P.3d at 285 ¶ 10. This statement is certainly inarguable, and we do not hold that Arizona’s right of privacy entitles citizens to subsidized abortions.2
¶ 14 This ease arose because the legislature chose to provide medically necessary treatment to one class of pregnant citizens and to withhold medically necessary treatment from another class of pregnant citizens. While a woman who requires chemotherapy for breast cancer may have no right to have the state finance the cost of such therapy, she does have the right to have the state treat her in a neutral manner as compared to the manner in which it treats others in the same class. AHCCCS provides “medically necessary” health care to those who meet stringent standards to qualify for state-provided services. A.R.S. §§ 36-2901(4), 36-2907(A). The question we must answer is whether the state, once it undertakes to provide medically necessary treatment to AHCCCS patients, can deny such treatment to one group of patients simply because they choose to exercise a constitutionally protected right. To state the issue is to answer it. Having undertaken to provide medically necessary health care for the indigent, the state must do so in a neutral manner.
B. Disparate treatment — level of scrutiny
¶ 15 We have long recognized that our equal privileges and immunities clause, article II, § 13, allows the government to enact discriminatory legislation so long as the burden on the affected class may be justified. With us, as with the equal protection analysis used by the United States Supreme Court, the degree of justification required depends, of course, on the nature of the right burdened. In the usual case, legislative regulation that results in disparate treatment of an affected class is upheld so long as there is a legitimate state interest to be served and the legislative classification rationally furthers that interest. Kenyon v. Hammer, 142 Ariz. 69, 78, 688 P.2d 961, 970 (1984). A second level of scrutiny is occasionally required, however, for discriminatory regulations that affect classifications such as those based.on gender and illegitimacy of birth. To uphold statutes under this test, a court must find the interest served by governmental action is important and the means adopted to achieve the state’s goals are reasonable, not arbitrary, and have a fair relation to those goals. Id.; see also State v. Gray, 122 Ariz. 445, 447, 595 P.2d 990, 992 (1979); Church v. Rawson, 173 Ariz. 342, 349, 842 P.2d 1355, 1362 (App.1992). Finally, when the right that is to be affected is considered fundamental or the class affected is suspect, discriminatory regulation will be upheld only if there is a compelling state interest to be served and the regulation is necessary and narrowly tailored to achieve the legislative objective. Kenyon, 142 Ariz. at 78-79, 688 P.2d at 970-71.
¶ 16 The regulation in question discriminates between two classes of women: those who require recognized and necessary medical treatment to save their lives and those who require such treatment to save their health and perhaps eventually their lives. Arizona citizens enjoy a fundamental right to choose abortion, a right settled by the United States Supreme Court under the federal constitution. Our citizens also enjoy a right to equal treatment under our own constitution. When the right in question is fundamental, our constitution requires that a strict scrutiny analysis be applied. Kenyon, 142 Ariz. at 79, 688 P.2d at 971; Arizona Downs v. Arizona Horsemen’s Found., 130 Ariz. 550, 555, *459637 P.2d 1053, 1058 (1981); see also Hunter Contracting Co. v. Superior Court, 190 Ariz. 318, 320, 947 P.2d 892, 894 (App.1997). Thus, A.R.S. § 35-196.02 can be upheld only if it serves a compelling state interest and is narrowly tailored and necessary to achieve that interest.
C. Compelling state interest
¶ 17 The compelling interest advanced by the state and the legislative amici is the state’s legitimate interest in preserving and protecting potential life and promoting childbirth. We agree that the state has such an interest. So, too, did the court of appeals in holding there was a rational basis for the statutory scheme because the state has a “legitimate interest in protecting unborn life and promoting childbirth.” Simat Corp., 200 Ariz. at 512 ¶ 18, 29 P.3d at 287 ¶ 18.
¶ 18 The court of appeals applied only the rational basis test because, in part, it concluded that Arizona’s statutory scheme “is not predicated on a constitutionally suspect classification” and the right affected is not fundamental. Id. at 511 ¶ 18, 29 P.3d at 286 ¶ 18. In reaching the latter conclusion, the court relied on a United States Supreme Court decision holding that the Hyde Amendment’s restrictions did not impinge on a fundamental right because it saw no impairment of the “fundamental right [to abortion] recognized in Roe [v. Wade ].” Maher v. Roe, 432 U.S. 464, 474, 97 S.Ct. 2376, 2383, 53 L.Ed.2d 484 (1977). McRae was decided on the same basis. 448 U.S. at 317, 100 S.Ct. at 2688. The appeals court also determined that Rasmussen and the privacy rights of article II, § 8 controlled the decision in this case. At least for now we will put aside that analysis.
¶ 19 The court of appeals relied on a portion of Maher in which the Supreme Court held that when the state adopted restrictions similar to Arizona’s, it had only “made childbirth a more attractive alternative, thereby influencing the woman’s decision----” Id. at 511 ¶ 12, 29 P.3d at 286 ¶ 12 (quoting Maher, 432 U.S. at 474, 97 S.Ct. at 2383). We do not agree with this view. The state has undertaken to provide necessary medical services for indigent women and therefore provide care for both serious illness and pregnancy. Thus, pregnant women may receive needed prenatal care; women suffering from cancer or other serious conditions may receive such care for those conditions as proper medical standards may require; but some pregnant women may receive neither because the state has decided that its interest in promoting childbirth takes precedence over the need to save a woman’s health. Given the Hyde-like restrictions embodied in A.R.S. § 35-196.02, we believe the state has done much more than make childbirth a more attractive alternative. For many women, childbirth cannot be an attractive alternative in such a predicament. Having undertaken to provide necessary medical care for pregnant women, the state has withheld care from one class of women who need it badly, while at the same time providing such care — prenatal and therapeutic — to others, some of whom who are not in the dire predicament of the women here in question. We are asked to uphold this disparate treatment under a constitutional provision that prohibits the enactment of any law “granting to any citizen, class of citizens, ... privileges ... which, upon the same terms, shall not equally belong to all citizens____” Ariz. Const. art. II, § 13.
D. Resolution
¶ 20 It is at this point that we conclude that the laws in question cannot survive strict scrutiny. While the state certainly has a legitimate interest in protecting the fetus and promoting childbirth, we cannot see how that is any more compelling than the state’s interest in protecting the health of pregnant women afflicted with serious disease by treating health problems before they become terminal. Promoting childbirth is a legitimate state interest, but it seems almost inarguable that promoting and actually saving the health and perhaps eventually the life of a mother is at least as compelling a state interest. The Supreme Court, in fact, held that the state’s interest in promoting childbirth is not even compelling until the fetus is viable. Roe, 410 U.S. at 165-66, 93 S.Ct. at 733.
¶ 21 In cases subsequent to McRae, moreover, the United States Supreme Court has *460recognized that the state has a compelling interest in preserving the health of expectant mothers, so that state restrictions on abortions must give way to the state’s interest in preserving the health of pregnant women. Planned Parenthood v. Casey, 505 U.S. 833, 846, 112 S.Ct. 2791, 2804, 120 L.Ed.2d 674 (1992) (plurality opinion). The Court held that while the state’s interest in protecting potential life is strong after fetal viability, even then it must give way to the more compelling interest of protecting a woman’s health. Id. at 872, 112 S.Ct. at 2817-18.
¶ 22 The Court recently went even further, holding unconstitutional a state prohibition on second trimester “partial birth abortion.” Stenberg v. Carhart, 530 U.S. 914, 120 S.Ct. 2597, 147 L.Ed.2d 743 (2000). The statute allowed such abortions when “necessary to save the life of the mother ... endangered by ... illness” but contained no such exception for situations in which the mother’s health was endangered. See Neb.Rev.Stat. Ann. § 28-328(1) (Supp.1999). The Court found the statute unconstitutional for lack of “any exception ‘for the preservation of the ... health of the mother.’ ” Stenberg, 530 U.S. at 930, 120 S.Ct. at 2609 (quoting Casey, 505 U.S. at 837, 112 S.Ct. at 2799). These cases, of course, do not touch on the state’s funding obligation, but they do unequivocally express the Supreme Court’s view as to the state’s compelling interest in preserving women’s health. It is a view that we would share even without Casey and Stenberg.3
¶ 23 Refusing abortions and thus preventing administration of the needed therapy for seriously ill women may promote childbirth and protect the fetus, but in some cases it will undoubtedly destroy the health and perhaps eventually the life of the mother. In such a situation, the state is not simply influencing a woman’s choice but actually conferring the privilege of treatment on one class and withholding it from another. Under the circumstances presented in this case, we cannot And any compelling interest in so doing. Surely, a woman’s right to choose preservation and protection of her health, and therefore, in many cases, her life, is at least.as compelling as the state’s interest in promoting childbirth. The restrictions in the AHCCCS funding scheme thus not only endanger the health of women being treated in their program but prevent those women from choosing a medical procedure, abortion, when necessary to preserve their health.
¶ 24 The state would perhaps have a better case if it withheld funding for all abortions. But, given the right of choice announced in Roe, once the state allows abortion funding if immediately necessary to save the mother’s life, the state’s interest in promoting childbirth cannot be considered sufficiently compelling to justify refusing to protect the health of a seriously ill woman. It can justify the distinction in classifications and privileges even less when the law allows abortion of a healthy fetus when the pregnancy results from rape or incest, even though in many cases that mother’s life or physical health may not be endangered by carrying the pregnancy to term.
¶ 25 Thus, we conclude that the laws and regulations in question violate the provisions of article II, § 13 of the Arizona Constitution, which prohibit the enactment of any law granting any citizen privileges that shall not on the same terms “equally belong to all citizens.” Because this answer is so clear, we do not reach the question of whether the greater privacy right contained in article II, § 8 of Arizona’s constitution would yield the same result. See ¶ 13, supra. In reaching the conclusion we do today, we do not intimate that the state may not have valid reasons for discriminating in the type of medical treatment provided AHCCCS patients. We hold only that it must justify such discrimina*461tion. The only justification advanced here— and none other is apparent to us — is protection of the fetus and promotion of childbirth. But as we have said, this cannot be considered so compelling as to outweigh a woman’s fundamental right to choose and the state’s obligation to be even-handed in the design and application of its health care policies.
E. Holdings in other states
¶ 26 Given the issue before us, it is important, we think, to test our conclusions by considering the views of other states. Courts in at least twenty other states have considered questions of public funding of a medically necessary abortion and have made decisions based on the law of their state. Fifteen of those courts have refused to follow McRae, deciding that statutes or constitutions in their state provided protections that required them to invalidate restrictions similar to the Hyde Amendment and to reject McRae.4 Some of those decisions are not published or are at a local trial court level.5 They are therefore not cited as precedents here although they have been by other courts. See, e.g., Low-Income Women v. Bost, 38 S.W.3d 689, 696 (Tex.App.2000) (review granted Aug. 23, 2001). We do not feel a survey of each of those cases is needed to support our conclusion, but a brief discussion of published opinions is helpful.6 One court noted the tendency of finding state constitutional and statutory rights on these issues even though McRae found none.
The majority of states that have examined similar Medicaid funding restrictions have determined that them state statutes or constitutions offer broader protection of individual rights than does the United States Constitution and have found that medically necessary abortions should be funded if the state also funds medically necessary expenses related to childbirth.

Id.

¶27 The Minnesota Supreme Court described the question it saw and defined it sharply:
The relevant inquiry, then, is whether, having elected to participate in a medical assistance program, the state may selectively exclude from such benefits otherwise eligible persons solely because they make constitutionally protected health care decisions with which the state disagrees.
Women of State of Minn. by Doe v. Gomez, 542 N.W.2d 17, 28 (Minn.1995).
¶ 28 Commenting on a state argument that it has a compelling interest in prospective or potential life that justified the funding ban on abortions for indigent women whose lives were not in immediate danger, the New Jersey Supreme Court said:
Although that is a legitimate state interest, at no point in a pregnancy may it outweigh the superior interest in the life and health of the mother. Yet the funding restriction gives priority to potential life at the expense of maternal health. From a differ*462ent perspective, the statute deprives indigent women of a governmental benefit for which they are otherwise eligible, solely because they have attempted to exercise a constitutional right.
Right to Choose v. Byrne, 91 N.J. 287, 450 A.2d 925, 935 (1982) (citations and quotations omitted) (emphasis added).
¶ 29 That same general health concern was echoed by the Connecticut Supreme Court when it held a right to abortion was covered by that state’s right to privacy and said:
This right to privacy also encompasses the doctor-patient relationship regarding the woman’s health, including the physician’s right to advise the woman on the abortion decision based upon her well-being. Finally, the right to make decisions which are necessary for the preservation and protection of one’s health, if not covered within the realm of privacy, stands in a separate category as a fundamental right protected by the state constitution.
Doe v. Maher, 40 Conn.Supp. 394, 515 A.2d 134, 150 (1986) (citations omitted).
¶ 30 The Alaska Supreme Court measured a statute similar to ours against its state’s equal protection clause:
[A] woman who carries her pregnancy to term and a woman who terminates her pregnancy exercise the same fundamental right to reproductive choice. Alaska’s equal protection clause does not permit governmental discrimination against either woman; both must be granted access to state health care under the same terms as any similarly situated person.
State v. Planned Parenthood of Alaska, Inc., 28 P.3d 904, 913 (Alaska 2001).
¶ 31 In 1981 Massachusetts was one of the earliest states to consider public funding of abortion. We agree with the Supreme Judicial Court’s holding:
[T]he Legislature need not subsidize any of the costs associated with child bearing, or with health care generally. However, once it chooses to enter the constitutionally protected area of choice, it must do so with genuine indifference. It may not weigh the options open to the pregnant woman by its allocation of public funds; in this area, government is not free to “achieve with carrots what (it) is forbidden to achieve with sticks.”
Moe v. Secretary of Administration &amp; Finance, 382 Mass. 629, 417 N.E.2d 387, 402 (1981) (quoting Laurence H. Tribe, American Constitutional Law § 15-10, at 933 n. 77 (1978)).
¶ 32 Later that same year, when the California Supreme Court held funding bans were unconstitutional, the court asked rhetorically:
If the state cannot directly prohibit a woman’s right to obtain an abortion, may the state by discriminatory financing indirectly nullify that constitutional right? Can the state tell an indigent person that the state will provide him with welfare benefits only upon the condition that he join a designated political party or subscribe to a particular newspaper that is favored by the government? Can the state tell a poor woman that it will pay for her needed medical care but only if she gives up her constitutional right to choose whether or not to have a child?
Committee to Defend Reproductive Rights v. Myers, 29 Cal.3d 252, 172 Cal.Rptr. 866, 625 P.2d 779, 798 (1981).
¶ 33 Because state constitutions and state statutes vary, the reasons for striking down abortion funding bans also vary. The principle on which the ban was overturned in the various states thus stemmed from privacy rights, due process, equal protection, statutory language, and in some cases from the state’s Equal Rights Amendment. However, there was consistency in the view that funding bans that discriminate against abortions medically necessary only to preserve the health of indigent women were unsustainable once the state had undertaken to provide medically necessary care.
COMMENTS ON THE DISSENT
¶ 34 The nature of this case makes it necessary to comment on several points raised in the dissent. First, the dissent believes the state would treat an abortion necessary to save the health of a pregnant woman suffering from a disease such as cancer the same *463as an abortion necessary to save the life of a woman. Dissent at ¶ 53. One would hope that the dissent is correct on this point, but we proceed on the contrary premise because the state has not asserted such an argument but instead argues that the distinction is valid. The trial judge granted summary judgment in favor of the doctors, and the court of appeals reversed, ordering summary judgment in favor of the state; thus, there is no record from which to determine how AHCCCS applies A.R.S. § 35-196.02 in practice. Because AHCCCS has not argued that an abortion necessary to save a woman’s health is, in many cases, also necessary to save her life, we must presume it is not applying the statute in that manner.
¶ 35 Second, the dissent assumes this opinion holds that the Arizona Constitution provides a greater right of choice than that provided by the United States Constitution. Dissent at ¶ 55. We reach no conclusion about whether the Arizona Constitution provides a right of choice, let alone one broader than that found in the federal constitution. We need not address the question because Arizona’s citizens, like those of other states, are entitled to assert the right to choose as defined and articulated by the United States Supreme Court.
¶ 36 Third, citing Maher, the dissent questions “whether the Arizona constitution requires payment for medically necessary abortions.” Dissent at ¶ 50; see also ¶¶ 47, 55. But this is not the point. Whether or not it is required to do so, Arizona has decided to fund abortions. Having made such decision, the question put to us is whether the Arizona Constitution permits the state to distinguish between those women for whom an abortion is necessary to save their life and those for whom it is medically necessary to save their health and thus prolong their life. Applying strict scrutiny to the fundamental right to choose, we must conclude that the state’s legitimate interest in promoting childbirth is not so compelling as to permit it to effectively destroy an indigent woman’s opportunity to choose to take medically necessary steps to preserve her health.
¶ 37 Finally, the dissent is concerned that today’s decision will require AHCCCS to provide “greatly expanded medical care” to all AHCCCS patients. Dissent at ¶ 52 n. 4. This opinion does not so hold. We only hold that the state cannot deprive a woman of the right of choice by conditioning the receipt of benefits upon a citizen’s willingness to give up a fundamental right.
CONCLUSION
¶38 The issue, and the answer, become clear if we reverse the current rule to suppose an AHCCCS rule that provides state care for an abortion necessary to save a woman’s life but denies medically necessary care to a woman who elects to continue a pregnancy. That rule could no more withstand scrutiny than can the current rule that denies coverage for medically necessary abortion when the state provides that standard of care to women who continue a pregnancy.
¶ 39 The court of appeals’ opinion is therefore vacated. The trial court’s judgment is affirmed insofar as it precludes application of A.R.S. § 35-196.02 to situations in which therapeutic abortions are medically necessary to enable doctors to administer treatment necessary to address serious health problems of pregnant AHCCCS patients.
¶40 The trial judge also required that AHCCCS fund medically necessary abortions to the same extent that it funds other pregnancy-related services. We believe this requirement is too broad insofar as it might be interpreted to require funding of abortions for non-therapeutic reasons or when not medically necessary to address a pregnant woman’s serious health issues.
¶ 41 Our decision is entirely based on the Arizona Constitution and Arizona cases interpreting the relevant provisions of that constitution. Federal cases are cited only for illustrative or comparative purposes and have not been relied on in reaching our conclusions. See Michigan v. Long, 463 U.S. 1032, 1040-41, 103 S.Ct. 3469, 3476, 77 L.Ed.2d 1201 (1983). Even though our decision is rooted in our own constitution, we feel it is important to note that our decision puts Arizona firmly with the majority of states that have considered the issue of the treatment of *464women who experience the unfortunate coinciding circumstances of being both indigent and ill while pregnant.
¶42 The case is remanded to the trial court for further proceedings consistent with this opinion.
CONCURRING: RUTH V. McGREGOR, Vice Chief Justice, and THOMAS A. ZLAKET, Justice (retired).

. We do not pretend to any special medical training or expertise. Because summary judgment was granted, the record does not indicate the extent to which abortion may be required but unavailable to address serious diseases that, the parties agree, threaten the health of some pregnant women. A moment's thought enables one to reach certain assumptions about cancer therapy. A moment’s research reveals, for instance, that lupus may be safely treated without abortion in many if not most cases but is a serious complication in women whose disease becomes active during pregnancy. See Lupus: A Patient Care Guide For Nurses and Other Health Professionals, Patient Information Sheet #11, Pregnancy and Lupus, The National Institute of Arthritis and Musculoskeletal and Skin Diseases, available at http://www. niams.nih.gov/hi/topics/lupus/lupus-guide/chppisll.htm (January 26, 1999).
Marfan’s syndrome is a disease that enlarges the heart and is a serious complication for pregnant women. How well pregnancy may be tolerated evidently depends on the degree of aortic enlargement. If the root of the aorta is greatly enlarged, the risk of maternal and fetal death approaches fifty percent. See Denise M. Chism and the RGA Publishing Group, The High-Risk Pregnancy Sourcebook, available at http://my.webmd.eom/content/article/l 680.51819 (copyright 1998).


. However, we have found that our citizens have rights under that clause to care for their health and to choose or refuse the treatment they deem hest for themselves. Rasmussen, 154 Ariz. at 215, 741 P.2d at 682 (the "individual’s right to chart his or her own plan of medical treatment deserves as much, if not more, constitutionally-protected privacy than does an individual's home or automobile.”). In Rasmussen, we found that the constitutional right given by article II, § 8 to control one’s course of medical treatment allowed a person in a chronic vegetative state to choose suspension of treatment and death over continued life; the state could therefore not prevent the exercise of that right. 154 Ariz. at 217, 741 P.2d at 684. This is a right not found, or at least not yet found or recognized, under federal law. But see Doe v. Bolton, 410 U.S. 179, 213, 93 S.Ct. 739, 755, 35 L.Ed.2d 201 (1973) (Douglas, J., concurring and urging constitutional protection for "freedom to care for one’s health and person”).


. We cannot explain the decision in Harris, on which the dissent relies. It is difficult to reconcile that decision with the basic teaching of Roe v. Wade, and we question that Harris could survive the more recent opinions in Stenberg, Casey, and Hodgson v. Minnesota, 497 U.S. 417, 110 S.Ct. 2926, 111 L.Ed.2d 344 (1990). Whereas Stenberg was invalidated because a statute permitted an exception only for the life, but not the health, of the mother, the AHCCCS regulations and A.R.S. § 35-196.02 do not simply lack a health-preservation exception, they actually remove the state's health-preservation obligation for one category of AHCCCS patients. In any event, regardless of the Supreme Court’s interpretation of the federal constitution, we are bound by oath and obligation to examine our own state constitution.


. In addition to the seven cases mentioned in the text of this section, see Roe v. Harris, No. 96977 (Idaho Dist.Ct. Feb. 1, 1994), result approved by Roe v. Harris, 128 Idaho 569, 917 P.2d 403, 405 (1996); Clinic for Women, Inc. v. Humphreys, No. 49D12-9908-MI-1137 (Ind.Super.Ct. Oct. 18, 2000), review granted sub nom. Hamilton v. Clinic for Women, Inc. (2001); New Mexico Right to Choose/NARAL v. Johnson, 126 N.M. 788, 975 P.2d 841 (1998), cert. denied, 526 U.S. 1020, 119 S.Ct. 1256, 143 L.Ed.2d 352 (1999); Planned Parenthood Ass’n v. Dep't of Human Resources, 63 Or.App. 41, 663 P.2d 1247 (1983); Women's Health Ctr. v. Panepinto, 191 W.Va. 436, 446 S.E.2d 658 (1993).


. The following unpublished opinions reached the same results: Jeannette R. v. Ellery, No. BDV-94—811 (Mont.Dist.Ct. May 26, 1994); Doe v. Celani, No. S81-84CnC (Vt.Super.Ct. May 26, 1986).


. Unpublished cases were cited in briefs filed in this court and in the lower court. While we have taken judicial notice of the decisions in those cases only for the purpose of thoroughness, we remind counsel of Rule 28(c), Ariz.R.Civ.App.P., that provides in part, "Memorandum decisions shall not be regarded as precedent nor cited” except in certain circumstances not relevant in this case. A memorandum decision is "a written disposition of a case not intended for publication." Rule 28(a)(2), Ariz.R.Civ.App.P. Our court of appeals discussed memorandum decisions and said, "We find no reason for out-of-state memorandum decisions to be more citable than in-state memorandum decisions.” Walden Books Co. v. Dep’t of Revenue, 198 Ariz. 584, 589 ¶ 23, 12 P.3d 809, 814 ¶ 23 (App.2000).

